                         UNITED STATES COURT OF APPEALS
                             FOR THE EIGHTH CIRCUIT

                                            No: 22-2812

          Morehouse Enterprises, LLC, doing business as Bridge City Ordinance, et al.

                                                      Appellants

                                       State of Arizona, et al.

                                                 v.

                     Bureau of Alcohol, Tobacco, Firearms and Explosives, et al.

                                                      Appellees


                                            No: 22-2854

          Morehouse Enterprises, LLC, doing business as Bridge City Ordinance, et al.

                                       State of Arizona, et al.

                                                      Appellants

                                                 v.

                     Bureau of Alcohol, Tobacco, Firearms and Explosives, et al.

                                               Appellees
______________________________________________________________________________
         Appeal from U.S. District Court for the District of North Dakota - Eastern
                                  (3:22-cv-00116-PDW)
                                  (3:22-cv-00116-PDW)
______________________________________________________________________________

                                              ORDER

Before COLLOTON, GRUENDER, and GRASZ, Circuit Judges.

       The emergency motion for an injunction pending appeal is denied. Judge Grasz would

grant this motion.


                                                        October 04, 2022



Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans
   Appellate Case: 22-2812 Page: 1            Date Filed: 10/04/2022 Entry ID: 5204710
